            Case 4:20-cv-05030-RMP                   ECF No. 24          filed 01/29/21     PageID.163 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                           FILED IN THE
                                                                  for the_                                  U.S. DISTRICT COURT
                                                                                                      EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                      JASON B. PAINE,                                                                  Jan 29, 2021
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:20-CV-5030-RMP
                                                                     )
                     WARDEN YOUNG,
                                                                     )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The First Amended Petition, ECF No. 10, is DENIED without prejudice for failure to exhaust state court remedies.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             Rosanna Malouf Peterson




Date: 1/29/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lennie Rasmussen
                                                                                          (By) Deputy Clerk

                                                                             Lennie Rasmussen
